          Case 2:15-cr-00002-RAJ-DEM Document 105 Filed 10/15/15 Page 1 of 7 PageID# 804
AO 245B (Rev. 12/03)(VAED rev. 2) Sheet 1 - Judgment in a Criminal Case


                                                                                                                             MLtU
                                             UNITED STATES DISTRICT COURT
                                                         Eastern District of Virginia                                     OCT 1 5 2015
                                                                    Norfolk Division
                                                                                                                 CLERK, U.S. OlSIRlCJ COURT
UNITED STATES OF AMERICA

                      V.                                                        Case Number:          2:15cr00002-001

JASON MARVIN SAUNDERS                                                           USM Number:            85152-083
                                                                                Defendant's Attorney:          Rodolfo Cejas, Esquire
Defendant.                                                                      Government's Attorney: Joseph DePadilla, AUSA


                                              JUDGMENT IN A CRIMINAL CASE

   The defendant was found guilty on Counts 1 and 3-11 of the Indictment after a plea of not guilty. Additionally, the
defendant was found not guilty on Count 2 of the Indictment, and is discharged as to such count.
       Accordingly, the defendant is adjudged guilty of the following counts involving the indicated offenses.


Title and Section                        Nature of Offense                                 Offense Class           Offense Ended         Count


T, 21 U.S.C. 846                         Conspiracy to Distribute Narcotics                Felony                  August 2014


T. 21 U.S.C. § 856(a)(1) and (b) and     Maintaining a Drug-Involved Premises              Felony                  August 2014           3 and 4
18:2


T. 21 U.S.C. §841(a)(1) and (b)(1)(C)    Possession With Intent to Manufacture and         Felony                  February 6, 2014
and 18:2                                 Distribute a Mixture and Substance Containing a
                                         Detectable Amount of Heroin


T. 21 U.S.C. § 841(a)(1) and (b)(1)(C)   Possession With Intent to Manufacture and         Felony                  February 6. 2014
and 18:2                                 Distribute a Mixture and Substance Containing a
                                         Detectable Amount of Cocaine



                                                                                                                   (counts continued on page 2)

  As pronounced on October 14, 2015, the defendant is sentenced as provided in pages 2 through 7 of this Judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

   It is ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material
changes in economic circumstances.

       Signed this jy           day of October, 2015



                                                                                                    Rayin ind^V hickson
                                                                                                    United States District Judge
         Case 2:15-cr-00002-RAJ-DEM Document 105 Filed 10/15/15 Page 2 of 7 PageID# 805
AO 245B (Rev. 12/03)(VAED rev. 2) Sheet 1 - Judgment in a Criminal Case                                                          Page 2 of 7


Case Number:                     2:15cr00002-001
Defendant's Name:                SAUNDERS, JASON MARVIN



Title and Section                        Nature of Offense                                    Offense Class   Offense Ended      Count

T. 21 U.S.C. § 841(a)(1) and (b)(l(C)    Possession With Intent to Manufacture and            Felony          February 6, 2014   7
and 18:2                                 Distribute a Mixture and Substance Containing a
                                         Detectable Amount of Cocaine Base


T. 18 U.S.C. § 924(c)(1)(A), (i) and 2   Possession of a Firearm in Furtherance of, and       Felony          August 23, 2014    8 and 9
                                         Using and Carrying Firearms During and in Relation
                                         to, One or More drug Trafficking Crimes.

T. 18 U.S.C. § 922(g)(1), 924(a)(2)      Convicted Felon in Possession of a Firearm           Felony          August 23, 2014    10 and 11
and 2
         Case 2:15-cr-00002-RAJ-DEM Document 105 Filed 10/15/15 Page 3 of 7 PageID# 806
AO 245B (Rev. 12/03)(VAED rev. 2) Judgment in a Criminal Case                                                              Page 3 of 7
         Sheet 2 - Imprisonment

Case Number:                  2:15cr00002-001
Defendant's Name:             SAUNDERS, JASON MARVIN



                                                                IMPRISONMENT

     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of FOUR HUNDRED EIGHTY (480) MONTHS.

  This term of imprisonment consists of a term of ONE HUNDRED TWENTY (120) MONTHS on Count 1; a term of
ONE HUNDRED TWENTY (120) MONTHS on each of Counts 3, 4, 5, 6, and 7; all to be served concurrently with
Count 1; a term of SIXTY (60) MONTHS on Count 8, to be served consecutively to Count 1; a term of THREE
HUNDRED (300) MONTHS on Count 9, to be served consecutively to all other counts; and a term of ONE HUNDRED
TWENTY (120) MONTHS on each of Counts 10 and 11, to be served concurrently with Count 1.


     The Court makes the following recommendations to the Bureau of Prisons:

            1)   The   Court recommends that the          defendant be enrolled in an education program.
            2)   The   Court recommends that the          defendant be enrolled in a drug education program.
            3)   The   Court recommends that the          defendant be enrolled in a vocational education program.
            4)   The   Court recommends that the          defendant be incarcerated in or near the Commonwealth of Virginia.




     The defendant is remanded to the custody of the United States Marshal.




                                                                    RETURN
I have executed this judgment as follows:

Defendant delivered on                                                  to
at                                                                    , with a certified copy of this Judgment.




                                                                    UNITED STATES MARSHAL



                                                        By
                                                                    DEPUTY UNITED STATES MARSHAL
         Case 2:15-cr-00002-RAJ-DEM Document 105 Filed 10/15/15 Page 4 of 7 PageID# 807
AO 245B (Rev. 12/03)(VAED rev. 2) Judgment in a Criminal Case                                                      Page4 of 7
          Sheet 3 - Supervised Release


Case Number:                   2:15cr00002-001
Defendant's Name:              SAUNDERS, JASON MARVIN


                                                         SUPERVISED RELEASE


    Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS.
    This term consists of a term of FIVE (5) YEARS on Counts 1, 8, and 9; and a term of THREE (3) YEARS on Counts
3, 4, 5, 6, 7, 10, and 11, all to run concurrently.

   The Probation Office shall provide the defendant with a copy of the standard conditions and any special conditions of
supervised release.
   The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from the custody of the Bureau of Prisons.
   The defendant shall not commit another federal, state or local crime.
   The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use
of a controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and
periodic drug tests thereafter, as determined by the court.
   The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
   If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay
any such fine or restitution in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties
sheet of this judgment.

                          STANDARD CONDITIONS OF SUPERVISION
The defendant shall comply with the standard conditions that have been adopted by this court set forth below:
1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the
      first five days of each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
      probation officer;
4)    the defendant shall support his or her dependents and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
      training, or other acceptable reasons;
6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
      administer any narcotic or other controlled substance or any paraphernalia related to such substances, except as
      prescribed by a physician;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
      administered;
9)  the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any
    person convicted of a felony, unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
    confiscation of any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
    enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer for a special agent of a law enforcement
    agency without the permission of the court;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
    defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
    notifications and to confirm the defendant's compliance with such notification requirement.
         Case 2:15-cr-00002-RAJ-DEM Document 105 Filed 10/15/15 Page 5 of 7 PageID# 808
AO 245B (Rev. 12/03)(VAED rev. 2) Judgment in a Criminal Case                                                         Page 5 of 7
         Sheet 3A - Supervised Release

Case Number:                  2:15cr00002-001
Defendant's Name:             SAUNDERS, JASON MARVIN


                                     SPECIAL CONDITIONS OF SUPERVISION
While on supervised release pursuant to this Judgment, the defendant shall also comply with the following additional
special conditions:


     1) The defendant shall participate in a program approved by the United States Probation Office for substance abuse,
        which program may include residential treatment and testing to determine whether the defendant has reverted to
        the use of drugs or alcohol, with partial costs to be paid by the defendant, all as directed by the probation officer.

     2) The defendant shall obtain a vocational skill during his period of supervision if not employed full time.

     3) The defendant shall provide the probation officer access to any requested financial information.
        Case 2:15-cr-00002-RAJ-DEM Document 105 Filed 10/15/15 Page 6 of 7 PageID# 809
AO 245B (Rev. I2/03)(VAED rev. 2) Judgment in a Criminal Case                                                  Page 6 of 7
         Sheet 5 - Criminal Monetary Penalties

Case Number:                  2:I5cr00002-001
Defendant's Name:             SAUNDERS, JASON MARVIN



                                                 CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.


                                      Count                     Assessment        Fine               Restitution
                                            1                     $100.00        $0.00                    $0.00

                                           3                      $100.00        $0.00                    $0.00

                                           4                      $100.00        $0.00                    $0.00

                                           5                      $100.00        $0.00                    $0.00

                                           6                      $100.00        $0.00                    $0.00

                                           7                      $100.00        $0.00                    $0.00

                                           8                      $100.00        $0.00                    $0.00

                                           9                      $100.00        $0.00                    $0.00

                                           10                     $100.00        $0.00                    $0.00

                                            11                    $100.00        $0.00                    $0.00

TOTALS:                                                          $1000.00        $0.00                    $0.00



                                                                FINES
No fines have been imposed in this case.
         Case 2:15-cr-00002-RAJ-DEM Document 105 Filed 10/15/15 Page 7 of 7 PageID# 810
AO 245B (Rev. 12/03)(VAED rev. 2) Judgment in a Criminal Case                                                         Page 7 of 7
         Sheet 6 - Schedule of Payments

Case Number:                  2:15cr00002-001
Defendant's Name:             SAUNDERS, JASON MARVIN




                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

The special assessment is due and payable immediately.

Any balance remaining unpaid on the special assessment at the inception of supervision, shall be paid by the defendant in
installments of not less than $50.00 per month, until paid in full. Said payments shall commence 60 days after defendant's
supervision begins.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the Clerk of the Court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
Payments shall be applied in the following order: (1) assessment (2) restitution principal (3) restitution interest (4) fine
principal (5) fine interest (6) community restitution (7) penalties and (8) costs, including cost of prosecution and court
costs.

Nothing in the court's order shall prohibit the collection of any judgment, fine, or special assessment by the United States.
